              Case 6:20-bk-06461-LVV      Doc 22     Filed 12/04/20     Page 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:                             )                       Case No. 6:20-bk-6461-LVV
                                   )
T & C Downtown Development, LLC,   )                       Chapter 11
                                   )
      Debtor.                      )
__________________________________ )

  STATEMENT OF ALDO G. BARTOLONE, JR. AND BARTOLONE LAW, PLLC
 PURSUANT TO 11 U.S.C. § 329(a) AND RULE 2016(b) OF THE FEDERAL RULES
                    OF BANKRUPTCY PROCEDURE

         ALDO G. BARTOLONE, JR. and the law firm of BARTOLONE LAW, PLLC (“Law

Firm”), in accordance with 11 U.S.C. § 329(a) and F.R.B.P. 2016(b), state as follows:

         1.     Law Firm has represented the Debtor since on or about October 14, 2020 in

connection with workout issues, the preparation and filing of the voluntary petition under

Chapter 11 of the United States Bankruptcy Code (the “Code”), and preparation of related

initial pleadings in this case.

         2.     Prior to the commencement of this case, the Debtor paid an advance fee of

$12,795.50 for post-petition services and expenses in connection with this case.

         3.     The Debtor has paid Law Firm $3,704.50 on a current basis, for services

rendered and costs incurred prior to commencement of this case, including the preparation of

the petition for reorganization under Chapter 11 of the Code, all related initial pleadings filed

in this case, and preparation expenses in this case, including the filing fee for the voluntary

petition.




                                               1
            Case 6:20-bk-06461-LVV        Doc 22     Filed 12/04/20     Page 2 of 4




       4.     Law Firm has not shared, or agreed to share, the advance fee, additional fees, or

subsequent reimbursement of expenses with any other entity, other than partners or regular

associates of Law Firm.

       DATED AND EXECUTED this 4th day of December, 2020.




                                            ___________________________
                                            ALDO G. BARTOLONE, JR.
                                            Florida Bar No. 173134
                                            BARTOLONE LAW, PLLC
                                            1030 N. Orange Ave., Suite 300
                                            Orlando, Florida 32801
                                            Telephone: (407) 294-4440
                                            Facsimile: (407) 287-5544
                                            E-mail: aldo@bartolonelaw.com
                                            Proposed Attorneys for Debtor



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

either electronically and/or by U.S. First Class, postage prepaid mail to all parties-in-interest

listed on the attached Mailing Matrix, this 4th day of December, 2020.



                                            ___/s/ Aldo G. Bartolone, Jr.______
                                            ALDO G. BARTOLONE, JR.




                                               2
                                Case 6:20-bk-06461-LVV        Doc 22         Filed 12/04/20   Page 3 of 4
Label Matrix for local noticing                Clayton G. Wilson as Trustee of the Clayton     T & C Downtown Development, LLC
113A-6                                         c/o Matthew J. Vaughn                           534 W. Church Street
Case 6:20-bk-06461-LVV                         Post Office Box 24628                           Orlando, FL 32805-2206
Middle District of Florida                     Lakeland, FL 33802-4628
Orlando
Fri Dec 4 12:10:17 EST 2020
BB&T now Truist                                BB&T now Truist                                 BB&T now Truist
Attn: Ivonne Otero-Hoebbel                     P.O. Box 200                                    P.O. Box 580340
255 S. Orange Avenue                           Wilson, NC 27894-0200                           Charlotte, NC 28258-0340
Suite 112
Orlando, FL 32801-3457

C2 General Contracting, Inc.                   Casey Preston                                   Clayton G Wilson as Trustee
1205 Sarah Avenue                              7107 Udine Avenue                               Clayton Wilson Rev. Trust
Suite 101                                      Orlando, FL 32819-8446                          21299 US Highway 27
Longwood, FL 32750-5476                                                                        Lake Wales, FL 33859-6851


Clayton G. Wilson, as Trustee of The Clayton   Clayton G. Wilson, as Trustee of the Clayton    Entelechy ARC Corporation
c/o Matthew J. Vaughn, esq                     c/o Matthew J. Vaughn                           595 Pensacola Lane
Post Office Box 24628                          Post Office Box 24628                           Lake Mary, FL 32746-5132
Lakeland, FL 33802-4628                        Lakeland, Florida 33802-4628


Florida Department of Revenue                  Florida Dept. of Revenue                        Internal Revenue Service
Bankruptcy Unit                                Orlando Service Center                          Post Office Box 7346
Post Office Box 6668                           400 W. Robinson Street                          Philadelphia PA 19101-7346
Tallahassee FL 32314-6668                      Suite N302
                                               Orlando, FL 32801-1759

Nancy J. Gargula, United States Trustee        Orange County Tax Collector                     (p)PAWNEE LEASING CORPORATION ATTN SANDI CAR
c/o Bryan Edgar Buenaventura, esq              PO Box 545100                                   3801 AUTOMATION WAY
George C. Young Federal Building400 W. W       Orlando FL 32854-5100                           STE 207
Orlando, FL 32801                                                                              FORT COLLINS CO 80525-5735


Peterson & Myers P.A.                          Randy Bumbalough                                Rexel USA, Inc.
225 East Lemon Street                          595 Pensacola Lane                              14951 Dallas Parkway
Suite 300                                      Lake Mary, FL 32746-5132                        Dallas, TX 75254-7892
Lakeland, FL 33801-4627


Smith & Williams Trial Group                   Solove Law Firm P.A.                            Trevor Myers
2295 S. Hiawassee Road                         12002 SW 128th Court                            86 Shipyard Ct.
Suite 318                                      Suite 201                                       Ocoee, FL 34761-4323
Orlando, FL 32835-8747                         Miami, FL 33186-4643


United States Trustee - ORL                    Vend Lease                                      Aldo G Bartolone Jr
Office of the United States Trustee            8100 Sandpiper Circle                           Bartolone Law, PLLC
George C Young Federal Building                Suite 300                                       1030 North Orange Avenue, Suite 300
400 West Washington Street, Suite 1100         Baltimore, MD 21236-4992                        Orlando, FL 32801-1004
Orlando, FL 32801-2210

L. Todd Budgen
Budgen Law
Post Office Box 520546
Longwood, FL 32752-0546
                                 Case 6:20-bk-06461-LVV             Doc 22       Filed 12/04/20        Page 4 of 4

                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Pawnee Leasing Corporation
3801 Automation Way
Suite 207
Fort Collins, CO 80525




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Orange County Tax Collector                       (d)Orange County Tax Collector                       End of Label Matrix
P.O. Box 545100                                      P.O. Box 545100                                      Mailable recipients   27
Orlando, FL 32854-5100                               Orlando, FL 32854-5100                               Bypassed recipients    2
                                                                                                          Total                 29
